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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DISTRICT OF COLUMBIA, et al.,

              Plaintiffs,

      v.                                           Civil Action No. 1:22-cv-03357 (CJN)

KROGER CO., et al.,

              Defendants.


      ORDER DENYING MOTION FOR TEMPORARY RESTRAINING ORDER

       This matter is before the Court on Plaintiffs’ Motion for Temporary Restraining Order,

ECF Nos. 4 and 7. For the reasons stated during today’s hearing, the Court DENIES Plaintiffs’

Motion.

       Accordingly, it is

       ORDERED that the Motion for Temporary Restraining Order is DENIED.


DATE: November 8, 2022
                                                          CARL J. NICHOLS
                                                          United States District Judge




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